Case 3:19-cv-00764-X Document 268 Filed 01/29/20    Page 1 of 16 PageID 9490



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

VEROBLUE FARMS USA, INC.,             §
   Plaintiff                          §
                                      §
 v.                                   §      CIVIL ACTION NO. 3:19-CV-00764-X
                                      §
LESLIE A. WULF, ET AL.,               §
   Defendants                         §



 THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S REPLY IN SUPPORT OF
        RULE 12(B)(6) MOTION TO DISMISS THIRD-PARTY CLAIMS
 Case 3:19-cv-00764-X Document 268 Filed 01/29/20                                            Page 2 of 16 PageID 9491



                                               TABLE OF CONTENTS

I.    ARGUMENT & AUTHORITIES .......................................................................................1

      A.        Third-Party Plaintiffs cannot rely on allegations that have not been
                pleaded. ................................................................................................................... 1

                1.         There are no allegations that McCowan was acting in his own self-
                           interest. ........................................................................................................ 1

                2.         Third-Party Plaintiffs have not pleaded that McCowan actively
                           persuaded VBF to breach its Termination Agreements. ............................. 3

                3.         Third-Party Plaintiffs make unreasonable inferences to support
                           their claims against McCowan. ................................................................... 5

      B.        Third-Party Plaintiffs fail to state a claim for attorneys’ fees. ................................ 6

      C.        There are no covenants not to sue in the Termination Agreements. ....................... 8

      D.        Third-Party Plaintiffs cannot establish an underlying breach of contract to
                support their claims for tortious interference of contract........................................ 9

      E.        VBF had a contractual right to terminate James Rea for Egregious Cause. ......... 10

II.   CONCLUSION ..................................................................................................................10




                                                                   i
 Case 3:19-cv-00764-X Document 268 Filed 01/29/20                                            Page 3 of 16 PageID 9492



                                               TABLE OF AUTHORITIES

                                                                CASES

Assoc. Gen. Contractors v. Cal. State Council of Carpenters,
  459 U.S. 519 (1983) .................................................................................................................... 6

Bell Atl. Corp. v. Twombly.,
  550 U.S. 544 (2007) .................................................................................................................... 1

Campbell v. Wells Fargo Bank, N.A.,
  781 F.2d 440 (5th Cir. 1986) ...................................................................................................... 6

Cmty. Health Sys. Prof’l Servs. Corp. v. Hansen,
 525 S.W.3d 671 (Tex. 2017)....................................................................................................... 1

Cypress Engine Accessories, LLC v. HDMS Ltd. Co.,
  283 F. Supp. 3d 580 (S.D. Tex. 2017) ........................................................................................ 9

Del Castillo v. PMI Holdings N. Am. Inc,
  No. 4:14-CV-03435, 2016 WL 3745953 (S.D. Tex. July 13, 2016) .......................................... 4

Ganske v. WRS Grp., Inc.,
  No. 10-06-00050-CV, 2007 WL 1147357 (Tex. App.—Waco April 18, 2007, no pet.) ... 7, 8, 9

Gipson v. Deutsche Bank Nat. Tr. Co.,
  No. 3:13-CV-4820-L, 2015 WL 2079514 (N.D. Tex. May 4, 2015) ......................................... 3

Gurganus v. Furniss,
  No. 3:15-CV-03964-M, 2016 WL 3745684 (N.D. Tex. July 13, 2016) ................................. 5, 6

Haubold v. Med. Carbon Research Inst., LLC,
  No. 03-11-00115-CV, 2014 WL 1018008 (Tex. App.—Austin Mar. 14, 2014, no pet.) ........... 8

In re Kosmos Energy Ltd. Sec. Litig.,
   955 F. Supp. 2d 658 (N.D. Tex. 2013) ....................................................................................... 7

Lawson v. Jason Pharm., Inc.,
  No. 3:17-CV-2648-L, 2019 WL 2448849 (N.D. Tex. June 12, 2019) ................................. 6, 10

Marcus, Stowell & Beye Gov’t Sec. Inc. v. Jefferson Inv. Corp.,
 797 F.2d 227 (5th Cir. 1986) ...................................................................................................... 7

Mumfrey v. CVS Pharmacy, Inc.,
 719 F.3d 392 (5th Cir. 2013) .................................................................................................. 1, 2

Nat’l Prop. Holdings, L.P. v. Westergren,
  453 S.W.3d 419 (Tex. 2015)................................................................................................... 8, 9



                                                                     ii
 Case 3:19-cv-00764-X Document 268 Filed 01/29/20                                         Page 4 of 16 PageID 9493



Outlaw Lab., LP v. Shenoor Enter., Inc.,
  371 F. Supp. 3d 355 (N.D. Tex. 2019) ....................................................................................... 5

R2 Invs. LDC v. Phillips,
  401 F.3d 638 (5th Cir. 2005) ...................................................................................................... 7

Roebuck v. Dothan Sec., Inc.,
  515 Fed. App’x. 275 (5th Cir. 2013) .......................................................................................... 1

United States ex rel. Shupe v. Cisco Sys., Inc.,
  759 F.3d 379 (5th Cir. 2014) ...................................................................................................... 3

                                                          STATUTES

Section 38.001 of the Texas Civil Practice and Remedies Code .................................................... 7

                                                             RULES

Federal Rule of Civil Procedure 8 .................................................................................................. 5




                                                                  iii
    Case 3:19-cv-00764-X Document 268 Filed 01/29/20                 Page 5 of 16 PageID 9494



        Applying the wrong legal standard, 1 Third-Party Plaintiffs 2 contend that they alleged

sufficient facts to state claims for tortious interference, attorneys’ fees, and exemplary damages

against McCowan. But the Amended Third-Party Complaint (“ATPC”) fails to meet the basic

requirements of Rule 8. Rather than formally amend their pleading to cure the defects, Third-Party

Plaintiffs improperly attempt to amend the ATPC via their Response. Such after-the-fact-

allegations, however, are not to be considered in determining the sufficiency of a complaint. 3 Even

liberally construed, the conclusory allegations in the ATPC do not contain sufficient factual matter

to survive McCowan’s 12(b)(6) Motion to Dismiss (“Motion”), which the Court should grant.

                            I.      ARGUMENT & AUTHORITIES

A.      Third-Party Plaintiffs cannot rely on allegations that have not been pleaded.

        1.      There are no allegations that McCowan was acting in his own self-interest.

        Under Texas law, a corporate agent like McCowan cannot be liable for tortious interference

with the corporation’s contracts unless the plaintiff can show that he “acted in a fashion so contrary

to the corporation’s best interests that his actions could only have been motivated by personal

interests.” Cmty. Health Sys. Prof’l Servs. Corp. v. Hansen, 525 S.W.3d 671, 691 (Tex. 2017),

reh’g denied (Sept. 22, 2017) (citations and internal quotation marks omitted). Furthermore, the

Fifth Circuit instructs that “[i]f a corporation does not complain about it’s [sic] agents actions, then

the agent cannot be held to have acted contrary to the corporation’s interests.” Mumfrey v. CVS

Pharmacy, Inc., 719 F.3d 392, 403 (5th Cir. 2013) (citations omitted).


1
  Third-Party Plaintiffs apply the wrong legal standard to test the sufficiency of their claims. Third-
Party Plaintiffs apply the “no set of facts” standard, see Resp. at 3, from Conley v. Gibson, which
was retired by the U.S. Supreme Court in Bell Atl. Corp. v. Twombly. 550 U.S. 544, 562-63 (2007).
2
  Defined terms have the same definitions as in McCowan’s Rule 12(b)(6) Motion to Dismiss
Third-Party Claims & Brief in Support [Dkt. No. 229], unless otherwise specified.
3
  See Roebuck v. Dothan Sec., Inc., 515 Fed. App’x. 275, 280 (5th Cir. 2013) (“[I]t is axiomatic
that the complaint may not be amended by the briefs in opposition to a motion to dismiss”) (citation
omitted).


                                                   1
 Case 3:19-cv-00764-X Document 268 Filed 01/29/20                  Page 6 of 16 PageID 9495



       Here, the ATPC fails to sufficiently allege that McCowan was acting in his own self-

interest or can otherwise be held liable for tortious interference with VBF’s agreements. Third-

Party Plaintiffs have not alleged that VBF complained about McCowan’s actions. Thus, under the

guidance provided by the Fifth Circuit, this means that McCowan “cannot be held to have acted

contrary to the corporation’s interests.” See id. Moreover, in their Response, Third-Party Plaintiffs

argue that “McCowan also followed the ‘Alder Defendants’ direction to use their counsel” and

followed a VBF director’s “direction” to consult with legal counsel regarding VBF’s agreements,

and that this somehow demonstrates “McCowan was acting in the interest of himself.” Resp. at 4.

At best, the ATPC alleges that McCowan was “directed” by others to take certain actions, and this

alone does not establish the necessary conduct to find that McCowan—especially as an officer of

VBF—acted tortiously. Even assuming McCowan followed such directions—which the Court is

not required to do as that is not pleaded—the ATPC fails to allege facts that demonstrate how

following directions from VBF board members were actions that McCowan carried out in his own

self-interest or that the company disagreed with. The Court need only make reasonable inferences

in Third-Party Plaintiffs’ favor; inferences unsupported by facts cannot defeat a 12(b)(6) motion.

       In an effort to support their strained reading of the ATPC, the Response characterizes

McCowan’s appointment to replace Wulf as CEO as a “reward” for “carrying out [a director’s]

direction to breach VBF’s agreements with the Founders.” Id. at 4. The ATPC, however, does not

allege that McCowan was directed to breach VBF’s agreement with the Founders (Third-Party

Plaintiffs), much less allege that he was appointed acting CEO as a “reward.” At best, the ATPC

alleges that McCowan was directed to seek legal advice “as to the legal position of the company

with respect to the requirements of severance payments” (ATPC Ex. E), which cannot be

reasonably construed as a “direction to McCowan to breach VBF’s agreements.” In fact, the ATPC




                                                 2
 Case 3:19-cv-00764-X Document 268 Filed 01/29/20                    Page 7 of 16 PageID 9496



alleges that “VBF”—not McCowan—“began ginning up reasons to avoid paying [Wulf] the

amounts due, consistent with [the directors’] communications and directions.” ATPC ¶ 52.

       To find, based on the allegations in the ATPC, that McCowan was acting in his own self-

interest or can otherwise be held liable for tortious interference with VBF’s agreements would be

speculative, but Third-Party Plaintiffs’ factual allegations must “rise above mere speculation.” See,

e.g., United States ex rel. Shupe v. Cisco Sys., Inc., 759 F.3d 379, 382 (5th Cir. 2014) (per curiam)

(“The plaintiff’s factual allegations must support a claim to relief that is plausible on its face and

rises above mere speculation.”) (citations omitted); see also, e.g., Gipson v. Deutsche Bank Nat.

Tr. Co., No. 3:13-CV-4820-L, 2015 WL 2079514, at *5 (N.D. Tex. May 4, 2015) (“The alleged

facts must ‘raise a right to relief above the speculative level.’”) (citation omitted).

       2.      Third-Party Plaintiffs have not pleaded that McCowan actively persuaded VBF to
               breach its Termination Agreements.

       While Third-Party Plaintiffs contend that they established that “McCowan actively

participated in VBF’s breach of founders’ contracts,” this is not the standard that applies to whether

Third-Party Plaintiffs have sufficiently pleaded a claim for tortious interference. Rather, to state a

claim for tortious interference with a contract, Third-Party Plaintiffs must allege that McCowan

took an active role in persuading VBF to breach the Termination Agreements—not simply that he

“participated” in VBF’s breach. See Mot. at 14 (collecting cases).

       Further, Third-Party Plaintiffs again rely on allegations that appear nowhere in the ATPC

to argue they have satisfied Rule 12(b)(6)’s pleading requirements. For example, the Response

contends that “McCowan consulted with Alder’s lawyers,” see Resp. at 11—yet this allegation

was never pleaded. Rather, the ATPC alleged that McCowan was merely “directed” “to engage”

Alder’s lawyers, and it never alleges that he engaged them as directed. Further, mere consultation

with Alder’s lawyers does not amount to actively persuading VBF to breach the Termination



                                                   3
 Case 3:19-cv-00764-X Document 268 Filed 01/29/20                Page 8 of 16 PageID 9497



Agreements. Nor does the fact that McCowan—the company’s CEO—signed Wulf’s separation

agreement on behalf of VBF equate to an active role in persuading VBF to breach its contracts.

Third-Party Plaintiffs cite only to allegations that McCowan performed his regular job duties as

the company’s CEO as the basis for their tortious interference claim.

       Further, Third-Party Plaintiffs’ contention that the ATPC alleges McCowan was “involved

in VBF’s decision to engage a consultant to perform a second investigation of [a director’s]

behavior” and to “only share the results of that investigation with some of VBF’s directors” is

similarly false. Id. at 11 (citing ATPC ¶ 53). Nowhere is the ATPC (including paragraph 53) does

it allege that McCowan was personally “involved” in any decision to investigate such claims or as

to whom the report of any such investigation would be sent. Paragraph 53 merely alleges “VBF’s

Board at the direction of Alder defendants Thelander, Wester, and Ebstein, had engaged an outside

firm” and does not attribute the decision of dissemination to anyone, let alone McCowan.

       In fact, McCowan’s name is only referenced individually in factual allegations ten times

in the 28-page ATPC. See ATPC at “Introduction” (identifying McCowan as current CEO of VBF

and referring to “assistance of McCowan”); ¶ 7 & n.2 (alleging McCowan is an Iowa resident,

serves as CEO of VBF, and agreed to waived service of process), 10 (alleging McCowan is a U.S.

citizen of a different state); ¶ 41 (another “directed” McCowan); ¶ 43 (alleging Wulf “met with”

McCowan); ¶ 45 (others “directed” McCowan); ¶ 51 (others “specifically approved” McCowan’s

execution of an agreement); & ¶ 61 (“McCowan…[was] aware of James Rea’s Employment

Agreement and VBF’s obligations hereunder.”). And Third-Party Plaintiffs cannot rely on group

pleading to state a claim against McCowan for tortious interference, especially considering that

each of the Third-Party Defendants is in a different position relative to VBF (e.g., being an

employee versus a director). See, e.g., Del Castillo v. PMI Holdings N. Am. Inc, No. 4:14-CV-




                                                4
    Case 3:19-cv-00764-X Document 268 Filed 01/29/20              Page 9 of 16 PageID 9498



03435, 2016 WL 3745953, at *13 (S.D. Tex. July 13, 2016) (“[L]umping together multiple

defendants without identifying who is responsible for which acts does not satisfy the requirements

of Rules 8(a)(2) and 12(b)(6).”) (citation omitted). 4

        Finally, Third-Party Plaintiffs do not allege in the ATPC but speculate in their Response

that “McCowan must have approved the filing of this lawsuit against Founders in July

2018.” Resp. at 11. These speculative arguments are not proper and, regardless, are insufficient to

demonstrate that McCowan actively persuaded VBF to breach the Termination Agreements.

        3.     Third-Party Plaintiffs make unreasonable inferences to support their claims against
               McCowan.

        Third-Party Plaintiffs improperly attempt to amend the ATPC through their Response by

inserting allegations in their Response that appear nowhere in the ATPC. For example, Founders

state in their Response that “McCowan was appointed by Alder representatives to be VBF’s CEO

immediately prior to Wulf’s termination in November 2017,” Resp. at 1, yet this factual allegation

is contained nowhere in the ATPC. An egregious example of Founders’ improper efforts to amend

the ATPC via their Response can be found in its statement that “McCowan and other Third-Party

Defendants negotiated termination agreements between three of the four Founders and VBF, and

then directed VBF to fabricate reasons to avoid its obligations to Founders under such

agreements.” Id. at 2. The ATPC, however, wholly fails to name McCowan as one of the parties

who negotiated the Termination Agreement or that he directed VBF to fabricate reasons to avoid

its obligations to Founders under such agreements. See ATPC ¶ 19.


4
  See also Outlaw Lab., LP v. Shenoor Enter., Inc., 371 F. Supp. 3d 355, 369 (N.D. Tex. 2019)
(“[T]o give the requisite notice to each Defendant, Plaintiff needs to avoid improper ‘group
pleading’ that does not distinguish the conduct of the individual Defendants.”); Gurganus v.
Furniss, No. 3:15-CV-03964-M, 2016 WL 3745684, at *5 (N.D. Tex. July 13, 2016) (holding
plaintiff’s “group pleading fails to meet the pleading requirements of Federal Rule of Civil
Procedure 8” and “makes it impossible to ascertain which particular Defendants(s) are supposedly
responsible for the acts allegedly creating the WARN Act violation”) (citations omitted).


                                                  5
Case 3:19-cv-00764-X Document 268 Filed 01/29/20                  Page 10 of 16 PageID 9499



       Moreover, in support of their argument that they have adequately alleged fraud, malice or

gross negligence on McCowan’s part and have stated a claim for exemplary damages, Third-Party

Plaintiffs rely on allegations not in the ATPC and allegations that do not specifically reference

and/or identify McCowan. Resp. at 14-15. For example, Third-Party Plaintiffs argue the ATPC

alleges that the “Alder Defendants (which include McCowan) withheld funds from VBF’s credit

facility,” see id. (citing ATPC ¶ 35), and “McCowan imposed additional conditions on Hall and

T. Rea’s severance payments after the fact” and that this shows “vindictiveness,” see id. (citing

ATPC ¶ 41), but neither of these is true. Rather, paragraphs 35 and 41 each reference another

director by name as taking action—not McCowan. Id. And nowhere in the ATPC does it allege

that McCowan followed those directions.

       Further, Third-Party Plaintiffs argue the unreasonable inference that paragraph 43’s

allegations that McCowan attended a meeting demonstrates that he engaged in fraud. See Resp. at

10-12 (citing ATPC ¶ 43). The mere presence of a corporate officer at a company meeting does

not amount to fraud and alone is wholly insufficient to demonstrate “fraud” to justify an award of

exemplary damages. While the Court must indulge all reasonable inferences in favor of the

plaintiff, the Court, however, cannot assume that the plaintiff can prove facts it has not alleged.

See, e.g., Campbell v. Wells Fargo Bank, N.A., 781 F.2d 440, 443 (5th Cir. 1986) (“It is not,

however, necessary or proper to assume that the plaintiffs can prove facts that they have not alleged

or that the defendants violated the [law] in ways that have not been alleged.”) (citing Assoc. Gen.

Contractors v. Cal. State Council of Carpenters, 459 U.S. 519, 526 (1983)).

B.     Third-Party Plaintiffs fail to state a claim for attorneys’ fees.

       Third-Party Plaintiffs’ statements in the ATPC that they are entitled to recover attorneys’

fees are legal conclusions that are “not entitled to the assumption of truth.” Lawson v. Jason

Pharm., Inc., No. 3:17-CV-2648-L, 2019 WL 2448849, at *3 (N.D. Tex. June 12, 2019) (citing


                                                 6
Case 3:19-cv-00764-X Document 268 Filed 01/29/20                    Page 11 of 16 PageID 9500



R2 Invs. LDC v. Phillips, 401 F.3d 638, 642 (5th Cir. 2005)). Third-Party Plaintiffs argue, without

authority, that they can recover attorneys’ fees for tortious interference under section 38.001 of the

Texas Civil Practice and Remedies Code. Resp. at 14. The Fifth Circuit has rejected this exact

argument. Marcus, Stowell & Beye Gov’t Sec. Inc. v. Jefferson Inv. Corp., 797 F.2d 227, 234 (5th

Cir. 1986) (“[A]rticle 2226 [predecessor to 38.001] does not authorize recovery of attorneys’ fees

in tortious interference suits”). Moreover, the ATPC wholly failed to plead the specific statutory

ground under Section 38.001 that serves the basis of James Rea’s claim for attorneys’ fees. And

James Rea’s belated attempt to identify subsection (8) of section 38.001 as the statutory ground in

the Response does not save his claim from dismissal, as a “plaintiff may not amend its complaint

in response to a motion to dismiss.” In re Kosmos Energy Ltd. Sec. Litig., 955 F. Supp. 2d 658,

676 (N.D. Tex. 2013). In addition, James Rea’s failure to allege prior presentment of a claim as

required by Section 38.002 is also fatal to his claim for attorneys’ fees. Further, Third-Party

Plaintiffs cite no authority or allegations to support that Section 38.001 permits a party to recover

attorneys’ fees from a nonparty to the contract containing the relevant provision.

       Likewise, Hall, T. Rea, and Wulf cannot seek to recover attorneys’ fees from McCowan

personally under the contractual provisions in their respective agreements with VBF. Third-Party

Plaintiffs cite no authority to support this proposition and certainly allege no facts to state a claim

to relief that is plausible on its face. The contractual provisions in Hall, T. Rea, and Wulf’s

respective termination agreements authorizing recovery of attorneys’ fees clearly limit the persons

from whom attorneys’ fees can be recovered to a “Party” or the “Parties,” a definition that does

not include McCowan. See Ex. B at p. 1 and ¶ 7(i); Ex. C at p. 1 and ¶ 7(i); Ex. D at p. 1 and ¶ 7(i).

       Finally, Third-Party Plaintiffs’ reliance on Ganske v. WRS Grp., Inc., No. 10-06-00050-

CV, 2007 WL 1147357 (Tex. App.—Waco April 18, 2007, no pet.) (mem. op.) is misplaced. As




                                                  7
Case 3:19-cv-00764-X Document 268 Filed 01/29/20                   Page 12 of 16 PageID 9501



other courts have observed, Ganske does not stand for the proposition that attorneys’ fees incurred

in the same case in which they are sought are recoverable as actual damages. Haubold v. Med.

Carbon Research Inst., LLC, No. 03-11-00115-CV, 2014 WL 1018008, at *7 (Tex. App.—Austin

Mar. 14, 2014, no pet.). “In Ganske . . . the court held that the Ganskes could recover prior

attorney’s fees incurred in prior litigation defending claims brought by WRS, allegedly in breach

of the parties’ settlement agreement.” Id. (citation omitted). In other words, the fees at issue were

incurred in an earlier, separate lawsuit, and they were sought in a subsequent lawsuit brought

directly against the contracting party in an action for breach of the settlement agreement. See

Ganske, 2007 WL 1147357 at *1-3. Unlike the plaintiffs in Ganske, Third-Party Plaintiffs seek to

recover fees incurred in defending VBF’s claims in this instant lawsuit from a third-party to the

agreement, and they seek to do so in a tortious interference action; thus any claim for attorneys’

fees are in the nature of costs, not damages. Furthermore, the language in the settlement agreement

in Ganske was more specific than the language in the agreements in this case, as it expressly

provided that it was entered into in order to “avoid costly and time costing [sic] litigation,” rather

than to generally “resolve any claims” the parties “may have against each other.” Ganske, 2007

WL 1147357 at *3.

C.     There are no covenants not to sue in the Termination Agreements.

       The Texas Supreme Court has made clear that a party who releases a claim and later files

suit on that claim does not necessarily breach the agreement containing the release. See Nat’l Prop.

Holdings, L.P. v. Westergren, 453 S.W.3d 419, 428 (Tex. 2015). Rather, a court must review the

“release language to determine whether [the] agreement includes a contractual obligation not to

sue.” Id. Third-Party Plaintiffs incorrectly equate the language releasing and discharging claims

with a covenant not to sue. The releases contain no promises not to sue. To the contrary, and like

the agreement in Westergren, the Termination Agreements contemplate that the parties may bring


                                                  8
Case 3:19-cv-00764-X Document 268 Filed 01/29/20                  Page 13 of 16 PageID 9502



suit by including language regarding the recovery of attorneys’ fees in any litigation brought to

enforce any provision of the agreement. See, e.g., Ex. C at ¶ 7(i); Ex. D at ¶ 7(i). As the Texas

Supreme Court noted, such an attorneys’ fees provision “indicates that a suit may be brought, even

though the agreement is in effect, and in no way suggests that filing a suit concerning the

[agreement’s] release claims results in a breach.” Westergren, 453 S.W.3d at 428. Indeed, there

are other provisions in the Termination Agreements that unambiguously demonstrate that the

parties contemplated future litigation. See Mot. at 11 n.5.

       Third-Party Plaintiffs, however, ignore the above-referenced authorities from the Texas

Supreme Court and point instead to Ganske for support—an unpublished case from the Waco

Court of Appeals case (with no petition history) that pre-dates the Westergren opinion. Notably,

the Ganske court did not undertake an analysis as to whether the agreement at issue included a

contractual obligation not to sue, which Westergren instructs is the relevant inquiry. And, as Third-

Party Plaintiffs concede, “the language in the Ganske release was more specific.” See Cypress

Engine Accessories, LLC v. HDMS Ltd. Co., 283 F. Supp. 3d 580, 587 (S.D. Tex. 2017) (holding

that Ganske does not provide a basis to circumvent Westergren). Indeed, unlike the releases in this

case, the Ganske settlement agreement specifically provided that the Ganskes paid a sum to the

other contracting party “solely to buy his peace and avoid costly and time costing [sic] litigation.”

Ganske, 2007 WL 1147357 at *3. Ganske has little to no precedential value and does not change

that the Termination Agreements contain no contractual obligations not to sue.

D.     Third-Party Plaintiffs cannot establish an underlying breach of contract to support
       their claims for tortious interference of contract.

       McCowan does not dispute that Third-Party Plaintiffs’ tortious interference claims against

him were excluded from the release in paragraph 9.15 of VBF’s Reorganization Plan. That those

claims against McCowan were carved from the release, however, does not save Third-Party



                                                 9
Case 3:19-cv-00764-X Document 268 Filed 01/29/20                   Page 14 of 16 PageID 9503



Plaintiffs’ claims from dismissal. Third-Party Plaintiffs must still allege sufficient facts to

demonstrate a plausible claim to relief for tortious interference, which requires that they

demonstrate that VBF breached the Termination Agreements. This they cannot do as their claims

against VBF for breach of contract were discharged and released. Stated differently, Third-Party

Plaintiffs released the cause of action that they would need to prove in order to prove tortious

interference. Furthermore, that paragraph 4 of the modification permits Third-Party Plaintiffs to

“plead any and all defenses” in this action does not permit them to plead any and all facts with

respect to its affirmative claims in this case. And contrary to Third-Party Plaintiffs’ suggestion,

breach of contract is not a defense to the claims asserted by VBF in the live complaint.

E.     VBF had a contractual right to terminate James Rea for Egregious Cause.

       The ATPC itself alleges that James Rea’s employment contract permitted termination for

Egregious Cause and that VBF terminated Rea pursuant to the Egregious Cause provisions. See

ATPC ¶¶ 59-60. Even accepting as true the Third-Party Complaint’s allegations that the Egregious

Cause was fabricated, the ATPC nonetheless fails to allege enough facts that McCowan played a

part in the alleged sham investigation that served the basis of the “false claim of Egregious Cause”

or otherwise played a role in fabricating a claim of Egregious Cause. See id. ¶ 100. Indeed, the

ATPC is silent as to what role, if any, McCowan played in this alleged scheme to terminate James

Rea. As noted by a sister Court in this district, it is not required “to strain to find inferences

favorable to the plaintiff and is not to accept conclusory allegations, unwarranted deductions, or

legal conclusions.” Lawson, 2019 WL 2448849, at *3.

                                     II.     CONCLUSION

       For the foregoing reasons, Third-Party Defendant Norman McCowan respectfully requests

that this Court grant the Motion, deny the relief requested in the Response, and grant such other

and further relief to which he may show himself justly entitled.


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Case 3:19-cv-00764-X Document 268 Filed 01/29/20    Page 15 of 16 PageID 9504



Dated: January 29, 2020               /s/ Nicole Williams
                                      Nicole Williams
                                      Texas Bar No. 24041784
                                      nicole.williams@tklaw.com
                                      William L. Banowsky
                                      Texas Bar No. 01697125
                                      bill.banowsky@tklaw.com
                                      Jasmine S. Wynton
                                      Texas Bar No. 24090481
                                      jasmine.wynton@tklaw.com

                                      THOMPSON & KNIGHT LLP
                                      One Arts Plaza
                                      1722 Routh Street, Suite 1500
                                      Dallas, TX 75201
                                      214-969-2102
                                      214-999-9210 (facsimile)

                                      s/ Robert H. Lang
                                      Robert H. Lang
                                      (appearing pro hac vice)
                                      rhlang@thompsoncoburn.com
                                      Patrick Morales-Doyle
                                      (appearing pro hac vice)
                                      pmoralesdoyle@thompsoncoburn.com
                                      Caroline Pritikin
                                      (appearing pro hac vice)
                                      cpritikin@thompsoncoburn.com
                                      Eileen E. Boyle Perich
                                      (appearing pro hac vice)
                                      eboyleperich@thompsoncoburn.com
                                      Adam C. Decker
                                      (appearing pro hac vice)
                                      adecker@thompsoncoburn.com

                                      THOMPSON COBURN LLP
                                      55 East Monroe, 37th Floor
                                      Chicago, IL 60603
                                      312-346-7500

                                      ATTORNEYS FOR THIRD-PARTY DEFENDANT
                                      NORMAN MCCOWAN




                                    11
Case 3:19-cv-00764-X Document 268 Filed 01/29/20               Page 16 of 16 PageID 9505



                               CERTIFICATE OF SERVICE

        The undersigned certifies that on January 29, 2020 this document was filed and served to
all counsel of record via the Court’s ECF system.


                                                   /s/ Nicole Williams
                                                   Nicole Williams




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